Case 4:04-cr-00161-WTM-CLR Document 150 Filed 07/12/19 Page 1 of 1

GASD First Step Act Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(B) Page | of 2 (Page 2 Not for Public Disclosure)

UNITED STATES DISTRICT COURT

for the

Southern District of Georgia
Savannah Division

 

United States of America

v. )
) Case No: 4:04-cr-161-1
Dominic Brown )
) USMNo:  12003-021
Date of Original Judgment: January 24,2005)
Date of Previous Amended Judgment: Not Applicable ) Anthony Robert Casella
(Use Date of Last Amended Judgment if Any) Defendant's Attorney

ORDER REGARDING MOTION FOR SENTENCE REDUCTION
PURSUANT TO 18 U.S.C. § 3582(c)(1)(B)

Upon motion of the defendant [] the Director of the Bureau of Prisons [] the court under 18 U.S.C.
§ 3582(c)(1)(B) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the First Step Act of 2018 pursuant to Pub. L. No. 115-391, and
having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

IT IS ORDERED that the motion is:
—X] DENIED. [LJGRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of months is reduced to .

| (See Page 2 for additional parts. Complete Parts | and II of Page 2 when motion is granted)
g Pp IP &

 

Except as otherwise provided, all provisions of the judgment dated —_ January 24, 2005, shall remain in effect.

IT ISSO ORDERED.

Hee y 74 Zool? ee

Judge's signature

  

Order Date:

Effective Date: William T. Moore, Jr.
Judge, U.S. District Court
(if different from order date) Printed name and title
